Case 1:22-cv-01236-HYJ-SJB ECF No. 27, PageID.188 Filed 03/17/23 Page 1 of 1

                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


 NEVIN P. COOPER−KEEL,

           Plaintiff,                            Case No. 1:22−cv−1236

     v.

 GARRETT KEEL−WORRELL,

           Defendant.
                                          /

                                  CLERK'S NOTICE
 The clerk's office has reviewed the following recent filing and notifies the filer
 as follows:
 TO: Sara Elice−DeWaard Fazio
 RE: Brief (Non−Motion) (ECF No. 25) [Exhibits 1−4]
 REASON FOR NOTICE: Exhibits or attachments are not identified on their
 face by number or letter.
 RECOMMENDED ACTION: None.
 INFORMATION FOR FUTURE REFERENCE: Local Civil Rule 5.7(d)(vii)
 requires that all exhibits and attachments contain on their face a prominent
 exhibit number or letter. This is particularly helpful to the court should the
 document be printed.
 For further assistance, please contact the ECF Help Desk at
 ecfhelp@miwd.uscourts.gov, or by phone at (800) 290−2742 or (616)
 456−2206.


                                              CLERK OF COURT

 Dated: March 20, 2023              By:        /s/ E. Doerr
                                              Deputy Clerk
